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REPORTER’S HANDBOOK – REPORTER’S QUALIFIED PRIVILEGE
   Reporter’s Quali ed Privilege



   by Susan H. Aprill and Sanford L. Bohrer


   Updated June 2015


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   I. Overview


   A. The Issue: Where a professional journalist has gathered or received information or documents in his
   or her professional newsgathering capacity, when can that journalist be compelled to provide such
   information or documents to a party to a civil or criminal lawsuit, or to government investigators?


   B. How It Arises: Usually the issue is raised when a subpoena is served on the journalist, demanding
   disclosure of a source (con dential or not), the content of information received by the journalist
   (whether disclosed in an article or broadcast or not), and/or notes or other documents compiled or
   received by the journalist.


   C. A Quali ed Privilege: Since 1998, when the Florida legislature enacted a ‘shield law’ affording a
   quali ed privilege to journalists, Section 90.5015, Florida Statutes, Florida has recognized that journalists
   may not have to provide information demanded by a subpoena in certain circumstances. If a journalist
   claims a privilege, i.e., a right not to testify or turn over written information, courts must examine the
   nature of the information sought, the nature of the controversy for which it is sought and its relation to
   that controversy, and whether the information is available elsewhere, in determining whether to
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   recognize the privilege or to compel a journalist to testify or turn over information. Privilege from
   compelled disclosure may apply to both con dential and non-con dential information in both civil and
   criminal proceedings.


   Florida’s federal courts recognize a similar privilege, which also applies to both con dential and non-
   con dential sources and in both criminal and civil cases, but base it on the First Amendment. At least
   one federal court has applied the Florida statute. See Carroll v. TheStreet.com, Inc., 2014 WL 5474048
   (S.D. Fla. 2014)(applying section 90.5015 and nding that the privilege is substantive and applies in
   federal court in diversity jurisdiction cases).


   D. The Test: Courts apply a three-part test in determining whether the journalist should prevail: (1)
   whether the journalist possesses information relevant to the controversy, (2) whether the same
   information is available from alternative sources, and (3) whether there is a compelling need for the
   information. Section 90.5015, Florida Statutes. See also State v. Davis, 720 So. 2d 220, 227 (Fla. 1998) (the
   same year the shield law was enacted).


   E. Balancing of Interests: When applied, the test involves a balancing of interests, meaning information
   received and published on a non-con dential basis which is critical to the prosecution or defense of a
   criminal defendant is less likely to be protected than the identity of a con dential source sought in an
   ordinary civil lawsuit arising out of an automobile accident.


   In addition to the statute, these recent court decisions are instructive. In Muhammad v. State, 132 So. 3d
   176, 190 (2013), a death row inmate challenged the use of midazolam hydrochloride in the execution
   protocol as unconstitutional. He served subpoenas on two newspaper reporters and sought to introduce
   evidence of articles they had written after they witnessed the execution of William Happ. In the articles,
   the two reporters reported that Happ had blinked and moved his head several times in the minutes
   after being injected with the drug. Muhammad intended to support his motion for post-conviction
   relief using this testimony. The circuit court quashed the subpoenas, nding that Muhammad failed to
   overcome the journalist’s privilege set forth in section 90.5015, and excluded the articles as hearsay. The
   Florida Supreme Court af rmed these rulings.


   In United States v. Thompson, 2015 U.S. Dist. LEXIS 47110 (S. D. Fla. 2015), a motion to quash subpoenas
   on journalists actually lming police activity at the time of a plaintiff’s arrest was granted with the court
    nding that the plaintiff had failed to satisfy the three pronged test established in United States v.
   Caporale, 806 F. 2d 1487, 1503-04 (11th Cir. 1986) – (1) the information sought must be highly relevant; (2)
   the information must be necessary to the proper presentation of the case; and (3) the information must
   be unavailable from other sources. This, despite the argument that the videotape would be the best
   evidence of the then- existing facts and circumstances giving rise to the arrest, where the plaintiff
   claimed his arrest was not based on probable cause.

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   Just a few weeks later, a magistrate in the same court denied a motion to quash a subpoena served on
   the NBC local news af liate’s reporter nding that the defendant in a federal civil rights action, a Miami-
   Dade County police of cer, satis ed all three elements of the Caporale case. Gregory v. Miami-Dade
   County, 2015 WL 3442008 (S.D. Fla. 2015). In Gregory, reporter Willard Shepard had interviewed the
   plaintiff some 20 months after the incident about plaintiff’s actions just before the plaintiff was shot by
   a police of cer. The of cer claimed that he believed the plaintiff was reaching for a gun and had
   grounds to believe that the plaintiff posed a threat of serious physical harm. The plaintiff later denied
   making the statement to Shepard that he had reached for a bat concealed in his waistband. The court
   found that the defendant of cer had demonstrated clearly and convincingly that the testimony sought
   was highly relevant, necessary to the proper presentation of the case and unavailable from other
   sources, and denied the motion. The court did limit the time and substantially narrowed the scope of
   the deposition inquiry.


   In State of Florida v. Luongo, Case No. 14-13813 CF 10A (Fla. 17th Cir. Ct. Jun. 11, 2015)(unpubl. opinion), a
   Broward County circuit judge applied the privilege and denied a murder defendant’s motion for leave
   to issue a subpoena to ABC for its unedited video footage and interviews developed during
   newsgathering — the lming of a 20/20 segment aired earlier this year. The segment concerned the
   Broward Sheriff’s Of ce’s undercover investigation of a murder-for-hire plot. The judge, nding that the
   defendant had already obtained all recordings made by law enforcement, denied the motion on the
   grounds that the material sought was not shown to be relevant and admittedly was sought because it
   might constitute impeachment material, the defendant had not established that it was not available
   from alternative sources such as depositions of others, and that no compelling interest existed requiring
   disclosure.


   F. No Privilege for Direct Evidence of Crime: There is no privilege when the reporter is an eyewitness to
   a relevant event such as an arrest or police search, has heard a direct confession of a crime, or has
   physical evidence of criminal activity – including unpublished photographs or tape. The reporter will in
   all likelihood be required to provide the evidence. News-Journal Corp. v. Carson, 741 So. 2d 572 (Fla. 5th
   DCA 1999)(interpreting the term ‘physical evidence’ in subsection (2) of the Shield Law to be limited to
   physical evidence ‘of crimes’). However, it should be recognized that not all unpublished material in the
   possession
   of a journalist is evidence of a crime if it merely depicts interviews about the crime and out-takes of the
   investigation participants. See State of Florida v. Luongo, above.


   II. Appendix 1


   A. What To Do if You Are Subpoenaed or Asked To Testify




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   A subpoena is in essence a court order on behalf of a party to a lawsuit commanding the person named
   on it to attend a hearing, trial, or deposition and testify under oath. The subpoena also may require the
   person to bring documents with him or her and produce them for inspection and photocopying by the
   party having the subpoena issued.


   You cannot ignore a subpoena. If you ignore a subpoena and fail to appear, you are subject to being
   held in contempt, which means you can be put in jail and/or ned until you testify. As a journalist, you
   should know that this means, unless you get the subpoena quashed, i.e., voided or nulli ed by a court,
   your work product, including notes, documents, and con dential sources, can be revealed involuntarily
   in court proceedings and you can be called to be a witness for one side or the other in a court
   proceeding. Under a First Amendment privilege, Florida judges in both state and federal courts may
   protect journalists from being compelled to testify, whether or not a con dential source is involved. But
   that is not always the case, and you must take care to protect your rights by following some basic rules.


   1. Do not agree to appear voluntarily as a witness in any proceeding.


   2. If an attorney or investigator asks you for ‘background’ or additional information about a story you
   wrote, exercise extreme caution in disclosing any information. Any disclosure to the attorney or
   investigator later may be deemed a waiver of your privilege against testifying.


   3. If you are served with a subpoena, or someone else receives it ‘on your behalf,’ record precisely when,
   by whom, and how it was served. Never ignore the subpoena.


   4. Always demand a check or subpoena fee from a subpoena process server to cover certain expenses
   prescribed by statute; if no check is received, ask the server to note that fact on the subpoena itself.


   5. Do not contact the attorney involved; rather, immediately report the receipt of a subpoena to your
   editor or news director, who should report it to the news organization’s lawyer. If you or your editor have
   no lawyer, consider calling the First Amendment Foundation Hotline, (800)337-3518 or (850) 222-3518.


   B. Your Rights.


   In general, you can expect not to be compelled to produce your work product or testify (assuming you
   are not an eyewitness to an event in a criminal case) unless the party seeking to compel you has shown:


   1. the information sought is relevant to an issue in the case;
   2. the information is not only relevant but is so relevant that there is a compell ing need for the
   information, so compelling as to be considered as going to the heart of one party’s case, and


   3. the information cannot be obtained by alternative means or from persons whose First Amendment
   rights are not at stake.
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   III. Appendix 2


   Section 90.5015 of the Florida Statutes provides for a journalist’s privilege.


   (1) De nitions. — For purposes of this section, the term:


   (a) ‘Professional journalist’ means a person regularly engaged in collecting, photographing, recording,
   writing, editing, reporting, or publishing news, for gain or livelihood, who obtained the information
   sought while working as a salaried employee of, or independent contractor for, a newspaper, news
   journal, news agency, press association, wire service, radio or television station, network, or news
   magazine. Book authors and others who are not professional journalists, as de ned in this paragraph,
   are not included in the provisions of this section.


   (b) ‘News’ means information of public concern relating to local, statewide, national, or worldwide issues
   or events.


   (2) Privilege. — A professional journalist has a quali ed privilege not to be a witness concerning, and not
   to disclose the information, including the identity of any source, that the professional journalist has
   obtained while actively gathering news. This privilege applies only to information or eyewitness
   observations obtained within the normal scope of employment and does not apply to physical
   evidence, eyewitness observations, or visual or audio recording of crimes. A party seeking to overcome
   this privilege must make a clear and speci c showing that:


   (a) The information is relevant and material to unresolved issues that have been raised in the proceeding
   for which the information is sought;


   (b) The information cannot be obtained from alternative sources; and


   (c) A compelling interest exists for requiring disclosure of the information.


   (3) Disclosure. — A court shall order disclosure pursuant to subsection (2) only of that portion of the
   information for which the showing under subsection (2) has been made and shall support such order
   with clear and speci c ndings made after a hearing.


   (4) Waiver. — A professional journalist does not waive the privilege by publishing or broadcasting
   information.


   (5) Construction. — This section must not be construed to limit any privilege or right provided to a
   professional journalist under law.
   (6) Authentication. — Photographs, diagrams, video recordings, audio recordings, computer records, or
   other business records maintained, disclosed, provided, or produced by a professional journalist, or by

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   the employer or principal of a professional journalist, may be authenticated for admission in evidence
   upon a showing, by af davit of the professional journalist, or other individual with personal knowledge,
   that the photograph, diagram, video recording, audio recording, computer record, or other business
   record is a true and accurate copy of the original, and that the copy truly and accurately re ects the
   observations and facts contained therein.


   (7) Accuracy of Evidence. — If the af davit of authenticity and accuracy, or other relevant factual
   circumstance, causes the court to have clear and convincing doubts as to the authenticity or accuracy of
   the proffered evidence, the court may decline to admit such evidence.


   (8) Severability. — If any provision of this section or its application to any particular person or
   circumstance is held in valid, that provision or its application is severable and does not affect the validity
   of other provisions or applications of this section.


   Added by Laws 1998, c. 98-48, 1, eff. May 12, 1998.


   IV. Appendix 3


   Historical Basis for the Shield Law: the Ups and Downs of Judicial Protection for Reporters


   A. The Privilege Originates in the Florida Supreme Court. Nearly 40 years ago, the Florida Supreme
   Court, in the celebrated case of reporter Lucy Ware Morgan, recognized a reporter’s quali ed First
   Amendment privilege not to reveal con dential sources. Ms. Morgan twice had been convicted of
   contempt for refusing to disclose the con dential source who had leaked to her the substance of a
   sealed grand jury presentment. On appeal, the Second District Court of Appeal af rmed the conviction
   even while recognizing a quali ed First Amendment privilege. Morgan v. State, 325 So. 2d 40 (Fla. 2d
   DCA 1975). But, making new law, the Florida Supreme Court reversed, holding that a generalized
   governmental interest in grand jury secrecy was insuf cient to outweigh the First Amendment interest
   in the protection of con dential sources. Morgan v. State, 337 So. 2d 951 (Fla. 1976). To justify this
   interpretation, the Morgan opinion offered a close reading of the United States Supreme Court’s
   plurality opinion in Branzburg v. Hayes, 408 U.S. 665 (1972), relying on a balancing of constitutional and
   societal or governmental interests as articulated in Justice Powell’s concurring opinion. The balance
   between those interests was weighed on a three-part scale, now codi ed in section 90.5015, Florida
   Statutes. Ten years later, the Florida Supreme Court reaf rmed Morgan, extending the privilege to both
   criminal and civil matters. Tribune Co. v. Huffstetler, 489 So. 2d 722 (Fla. 1986). After Morgan, Florida
   courts applied the privilege in both civil and criminal cases, and extended the privilege to include
   information obtained from non-con dential sources, Tribune Co. v. Green, 440 So. 2d 484 (Fla. 2d DCA
   1983), rev. denied, 447 So. 2d 886 (Fla. 1984), recognizing that journalists have due process rights just like



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   other citizens. Times Publishing Co. v. Burke, 375 So. 2d 297 (Fla. 2d DCA 1979) (holding the privilege
   requires that a hearing and reasonable notice be granted the press before an order compelling a
   reporter to testify in a judicial proceeding may be entered).


   B. The Privilege Is Eroded by the Florida Supreme Court. Over the course of the next several years, the
   Supreme Court took a turn in another direction. It narrowed and limited the privilege to some extent,
   carving out exceptions to the privilege where the reporter was, for example, an eyewitness to a relevant
   event. In Miami Herald Publishing Co. v. Morejon, 561 So. 2d 577 (Fla. 1990), the Florida Supreme Court
   held that an eyewitness to a police search of a criminal suspect had no privilege to refuse to testify
   regarding his observations when the suspect later moved to ‘suppress’ the evidence gathered in the
   search. The Supreme Court left unresolved other aspects of the journalist’s privilege question. Then,
   almost a year later, the Florida Supreme Court again rejected a reporter’s claim of quali ed privilege to
   refuse to disclose information obtained while an eyewitness to a relevant event which was the subject of
   a criminal proceeding. In CBS, Inc. v. Jackson, 578 So. 2d 698 (Fla. 1991), the court held CBS had to turn
   over to the criminal defendant ‘outtakes’ of its videotape of the defendant’s arrest since the defendant’s
   request did not implicate any sources of information, but rather sought discovery of physical evidence of
   the ‘events surrounding’ his arrest. In a footnote, the court commented that no quali ed privilege
   should apply when a party seeks unpublished photographs or videotape from a reporter. Courts were
   then free to interpret the Morejon and Jackson decisions to require a reporter to testify about or release
   unpublished material re ecting his or her eyewitness observations, often giving inconsistent
   interpretations.


   Even when applying the judicially-created three-part test, courts had compelled journalist’s testimony in
   cases not involving con dential sources. For example, in Waterman Broadcasting of Florida, Inc. v.
   Reese, 523 So. 2d 1161 (Fla. 2d DCA 1988), the Court of Appeal ruled a reporter had to testify regarding
   her interview with a doctor who ‘confessed’ to the reporter that he had given his terminally ill wife a
   lethal dose of drugs in order to hasten her death. The court found (a) the confession to be relevant
   because each confession to a crime is unique; (b) a compelling interest because of the State’s
   responsibility to investigate the crime; and that there was (c) no alternative means of getting the
   information because no other such conversations occurred.


   C. The Privilege is Clari ed by the Florida Supreme Court and Codi ed in Legislation. In 1998, the
   privilege was codi ed when the Florida Legislature enacted a journalist’s privilege statute or ‘shield law,’
   which, as noted above, is at Section 90.5015, Florida Statutes. Essentially, this statutory privilege provides
   that ‘professional journalists,’ as de ned by the statute have a quali ed privilege not to be a witness
   concerning and not to disclose information, including, but not limited to con dential sources, gathered
   in his or her professional journalistic capacity. The privilege is a quali ed one, however, because one
   seeking the information can compel the journalist to testify by meeting the three-part test described

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   above: relevance of the information, a compelling need for it, and no alternative sources. At least one
   court of appeal has held the privilege is not ‘waived’ simply because the journalist discusses the subject
   in interviewing someone for a publication. Ulrich v. Coast Dental Servs., Inc. 739 So. 2d 142 (Fla. 5th DCA
   1999).


   In 1998, in addition to the legislative enactment of the ‘journalist’s privilege’ or ‘shield law’, the Florida
   Supreme Court decided three signi cant cases, breathing new life into what had been an eroding and
   inconsistently applied judicial privilege. Two district courts of appeal had ‘certi ed’ to the Florida
   Supreme Court the question whether Florida law provided a quali ed reporter’s privilege against the
   disclosure of non-con dential information relevant to a criminal proceeding. In October of 1998, the
   Supreme Court held that such a quali ed privilege exists against the disclosure of both non-con dential
   and con dential information, stressing the need to balance a defendant’s constitutional rights against
   the rights of a free press. State v. Davis, 720 So. 2d 220 (Fla. 1998).


   In Davis, the Court reversed the Second District Court of Appeal decision which had vacated a
   defendant’s conviction on the theory that the reporter’s privilege should not apply where no
   con dential source was implicated and the defendant should have been allowed to depose a reporter
   who had interviewed the victim to impeach her. The Florida Supreme Court reversed. It held that the
   privilege does, in fact, apply to situations involving non-con dential, as well as con dential information,
   and reinstated the defendant’s conviction.
   In Kidwell v. State, 730 So. 2d 760 (Fla. 1998), the Supreme Court employed the test explained in its
   Davis decision and quashed the trial court’s contempt order which had caused a reporter to be jailed
   and which, as stated above, had been upheld by the Fourth District Court of Appeal, observing that in
   Kidwell, unlike in Davis, where the defendant’s right to due process and compulsory process was to be
   accorded great weight, the government had served the subpoena on the reporter, and explained the
   need in these circumstances for a careful evaluation by the trial court of the information in issue to
   protect against the press becoming an ‘investigative arm’ of the state.


   Finally, in Morris Communications Corp. v. Frangie, 720 So. 2d 230 (Fla. 1998), where a reporter’s motion
   to quash a subpoena in a civil proceeding was denied, the First District Court of Appeal then certi ed to
   the Supreme Court the question whether the privilege applied to non-con dential information relevant
   to a civil proceeding. The Supreme Court made clear that its decision in Davis, a criminal case, applies
   to civil proceedings as well.


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   Authored by the Media & Communications Law Committee, the handbook serves as a resource guide
   for members of the media about topics in the legal profession.


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